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    PROPOSED COUNSEL FOR THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    In re:                                                         §    Chapter 11
                                                                   §
    NATIONAL RIFLE ASSOCIATION OF AMERICA                          §    Case No. 21-30085-hdh11
    AND SEA GIRT LLC,                                              §
                                                                   §
                      Debtors1.                                    §    Jointly Administered

                                         WITNESS AND EXHIBIT LIST

             The Official Committee of Unsecured Creditors (the “Committee”) in the above-captioned

chapter 11 cases, by and through their undersigned proposed counsel, hereby designates the

following witnesses and exhibits (the “Witness and Exhibit List”) for the hearing scheduled on

February 10, 2021, at 2:00 p.m. (prevailing Central Time) (or as such hearing may be continued

or rescheduled, the “Hearing”).

                                                WITNESSES

       1. Any witness listed or called by any other party.

       2. Any witness necessary to authenticate the exhibits designated herein.

       3. Any witness necessary to rebut and/or impeach the testimony of a witness called or
          designated by any other party.

1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

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                                                EXHIBITS

   Ex.                              Description                          Offered    Objection Admitte
   No.                                                                                          d
    1.     Any pleadings or other documents filed in these
           cases or any related cases.
    2.     Any exhibits designated by any other party.
    3.     Rebuttal and impeachment documents as appropriate

         The Committee reserves the right to supplement or amend this Witness and Exhibit List at

any time prior to the Hearing. The Committee further reserves the right to use additional exhibits

not identified herein for purposes of rebuttal or impeachment. The Committee also reserves the

right to rely upon and use as evidence: (i) exhibits included on the exhibit list of any other parties

in interest, and (ii) any pleading, hearing transcript, or other document filed with the Court in the

above-captioned cases.

 Dated: February 9, 2021                              Respectfully submitted,

                                                      NORTON ROSE FULBRIGHT US LLP

                                                      By: /s/ Laura L. Smith
                                                      Louis R. Strubeck, Jr. (SBT 19425600)
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                                                      laura.smith@nortonrosefulbright.com

                                                      Proposed Counsel to the Official Committee of
                                                      Unsecured Creditors




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                               CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Appearance was served upon the counsel and parties of record, electronically through
the Bankruptcy Court’s Electronic Case Filing System on those parties that have consented to such
service, on the 9th day of February, 2021.

                                                       /s/ Laura L. Smith
                                                       Laura L. Smith




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